       Case 1:07-cv-11693-GAO            Document 18        Filed 12/21/07       Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 PEDRO LOPEZ, et al.,

                                Plaintiffs,
                                                           CIVIL ACTION
               v.                                          NO. 07-11693-JLT
 CITY OF LAWRENCE, et al.,

                                Defendants.




                  ASSENTED-TO MOTION FOR ENTRY OF ORDER
               FOR THE PROTECTION OF CONFIDENTIAL MATERIAL


       Defendants Commonwealth of Massachusetts and Paul Dietl, in his capacity as Personnel

Administrator of the Human Resources Division, move for the entry of an Order of the Court in

substantially the form of the proposed order appended to the attached Stipulation and Order for

the Protection of Confidential Material. In support thereof, the state defendants represent that

counsel for all other parties have authorized the filing of the attached stipulation bearing their

electronic signatures and they have further assented to this motion. The parties’ counsel of

record intend to append handwritten signatures to the stipulation document at the Scheduling

Conference set for January 3, 2008. To the extent that good grounds for entry of the proposed

order are not apparent from the stipulation itself, the state defendants will be prepared to argue

for entry of the proposed order at the January 3, 2008, Scheduling Conference.
      Case 1:07-cv-11693-GAO   Document 18     Filed 12/21/07   Page 2 of 2




                                  Respectfully submitted,

                                  COMMONWEALTH OF MASSACHUSETTS and
                                  PAUL DIETL, in his capacity as Personnel
                                  Administrator of the Human Resources Division,

                                  By their attorney,

                                  MARTHA COAKLEY
                                  ATTORNEY GENERAL

                                  /s/ Sookyoung Shin
                                  ____________________________
                                  Sookyoung Shin, BBO # 643713
                                  Assistant Attorney General
                                  One Ashburton Place, Room 2019
                                  Boston, MA 02108-1698
                                  (617) 727-2200, ext. 2052

Dated: December 21, 2007




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